 Case 3:07-cr-00222-L         Document 58          Filed 01/23/08    Page 1 of 2      PageID 140



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §   Criminal No. 3:07-CR-222-L
                                                   §
MICHAEL PHILIP PLAISTED, JR. (2)                   §

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be accepted.

Based upon the Report of the Magistrate Judge the court finds that the defendant is fully competent

and capable of entering an informed plea, that the defendant is aware of the nature of the charge and

the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea, supported

by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Michael Philip Plaisted, Jr.

on December 4, 2007, and he is hereby adjudged guilty of the offense charged in Count One of the

Indictment, which is a violation of 26 U.S.C. §§ 5845(a)(8), 5845(f)(1)(A)(B)&(D), 5861(d) and

5871, namely, possession of an unregistered firearm (destructive device). Sentence will be imposed

in accordance with the court's scheduling order.




Order Accepting Report – Page 1
 Case 3:07-cr-00222-L         Document 58       Filed 01/23/08   Page 2 of 2   PageID 141



      It is so ordered this 23rd day of January, 2008.



                                                     _________________________________
                                                     Sam A. Lindsay
                                                     United States District Judge




Order Accepting Report – Page 2
